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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

UNITED STATES OF AMERICA
                                      Plaintiff,
v.                                                 Case No.: 1:22−cr−00528 *SEALED*
                                                   Honorable Jeremy C. Daniel
Xuanyu Harry Pang
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 23, 2024:


         MINUTE entry before the Honorable Jeremy C. Daniel as to Xuanyu Harry Pang:
Status hearing held. Change of plea set for 11/5/2024 at 11:00 a.m. In the interest of
justice, 10/23/2024 to 11/5/2024 is excludable time under 18:3161(h) (7)(A)(B). Mailed
notice. (vcf, )




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